    Case 1:13-cr-00134-CG-N             Doc# 114        Filed 03/18/15        Page 1 of 2      PageID# 407

AO 245D (Rev. 12/03) Judgment in a Criminal Case for Revocations                           (7835)

                 UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF ALABAMA
         UNITED STATES OF AMERICA                         JUDGMENT IN A CRIMINAL CASE
                   V.                                     (For Revocation of Probation or Supervised Release)

         JOSHUA N. ROBERTS                                CASE NUMBER: 1:13-CR-00134-001
         a/k/a Joshua Nathan Roberts                      USM NUMBER: 09008-003

THE DEFENDANT:                                            Neil L. Hanley, Esquire
                                                          Defendant's Attorney

X      admitted guilt to violation of supervision conditions: statutory & 8 as set out in the Petition
dated 2/12/2015.
       was found in violation of supervision condition:
                                                                        Date violation
Violation Number                    Nature of Violation                  Occurred
Statutory                           New Offense                         02/02/2015
8                                   Technical

       The defendant is sentenced as provided in pages 2 through 2 of this judgment. The sentence is
imposed pursuant to the Sentencing Reform Act of 1984.

       The defendant has not violated condition(s)                 and is discharged as to such violation(s)
condition.

         IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this
district within 30 days of any change of name, residence, or mailing address until all fines, restitution,
costs, and special assessments imposed by this judgment are fully paid.




Defendant's Social Security No. 9047                       March 11, 2015
                                                           Date of Imposition of Judgment
Defendant's Date of Birth: 1979
                                                           /s/ Callie V. S. Granade
Defendant's Residence Address:                             UNITED STATES DISTRICT JUDGE
[STOP]
__________________________
                                                           March 18, 2015
Defendant's Mailing Address:
                                                           Date
___________________________
___________________________
    Case 1:13-cr-00134-CG-N             Doc# 114        Filed 03/18/15        Page 2 of 2     PageID# 408
                                                                                                 Judgment 2
AO 245D (Rev. 12/03) Judgment in a Criminal Case for Revocations: Sheet 2 - Imprisonment

Defendant: JOSHUA N. ROBERTS, a/k/a Joshua Nathan Roberts
Case Number: 1:13-CR-00134-001

                                           IMPRISONMENT
       The defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a total term of TWENTY-FOUR (24) MONTHS.



X     The court makes the following recommendations to the Bureau of Prisons: that the
defendant be imprisonment at an institution where a drug abuse treatment program is available.




X       The defendant is remanded to the custody of the United States Marshal.

        The defendant shall surrender to the United States Marshal for this district:
               at .m. on        .
               as notified by the United States Marshal.

        The defendant shall surrender for service of sentence at the institution designated by the Bureau
        of Prisons:
                before 2 p.m. on      .
                as notified by the United States Marshal.
                as notified by the Probation or Pretrial Services Office.

                                                     RETURN
I have executed this judgment as follows:

__________________________________________________________________________________

__________________________________________________________________________________

__________________________________________________________________________________

Defendant delivered on                          to                                     at __________________

with a certified copy of this judgment.
                                                                          UNITED STATES MARSHAL


                                                                      By _________________________________
                                                                             Deputy U.S. Marshal
